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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


  UNITED STATES OF AMERICA,

  Plaintiff,
                                                         CASE NO. 19-604 (PAD)
                            v.

  CHRISTOPHER ROMAN-MEDINA,
  ET AL.,

  Defendant.

UNITED STATES’ INFORMATIVE MOTION REGARDING NEW DATES OF
            EVIDENCE INSPECTION FOR MARCH 2021

TO THE HONORABLE COURT:

       COMES NOW, the United States of America through the undersigned attorney,

and to this Honorable Court very respectfully states and prays as follows:

       In the present case, the evidence inspection has been scheduled for March 23, 24

and 25, 2021 from 9:00 am to 4:00 pm each day.

       Considering the ongoing impact of the pandemic, and how it limits available

personnel for the logistics such an evidence inspection entails, it will be held in Ponce,

PR as opposed to San Juan.       The location will be HSI’s offices at the MCS Building,

Tito Castro Avenue #880, Ponce, PR ― across from San Lucas Hospital de Ponce.

       It is imperative that all defense counsel bring valid identification and credentials

as practicing attorneys, and follow all COVID-19 protocols, including always wearing a

mask within the facility.    If any attorney has questions about the inspection process, he
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or she may call Special Agent/HSI Jose Turell or TFO/HSI Carlos López at (787) 729-

6969.

        WHEREFORE, the Government respectfully requests the Honorable Court, and

all distinguished defense attorneys, to take notice of the new dates for the evidence

inspection.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this 22nd day of February 2021.

                                               W. STEPHEN MULDROW
                                               United States Attorney



                                               s/Enrique Silva-Avilés
                                               Enrique Silva-Avilés
                                               Assistant United States Attorney
                                               United States Attorney=s Office
                                               Torre Chardón, Room 1201
                                               350 Carlos Chardón Avenue
                                               San Juan, Puerto Rico 00918
                                               Tel. (787) 766-5656


                              CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on this date, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to all attorneys of record.


                                               s/Enrique Silva-Avilés
                                               Enrique Silva-Avilés
                                               Assistant United States Attorney
